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                                  UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MASSACHUSETTS

In re: Alexander R. Cain,                                        Case No. 18-12602 fjb
          Debtor                                                 Chapter 13

John R. Leeman, Jr.,                                             Adv. Proc. No.
          Plaintiff
                                                                 COMPLAINT TO DETERMINE NON‐DISCHARGEABILITY
v.                                                               OF DEBT UNDER SECTION 523(a)(2) OF THE UNITED
                                                                 STATES BANKRUPTCY CODE
Alexander R. Cain.
          Defendant


    Plaintiff John R. Leeman, Jr. alleges:


                                                      PARTIES
    1. Plaintiff John R. Leeman, Jr. (hereinafter “Leeman”) is an
        individual residing at 70 Pillon Road, Milton, MA 02186.
    2. Defendant, Alexander R. Cain, Esquire, (hereinafter “Cain”)
        is an individual residing at 85 Church Street, Merrimac, MA
        01860.

                                                  JURISDICTION
    3. This court jurisdiction over this action as a “core” proceeding
        under 28 U.S.C. 28 U.S.C. §§ 157(b)(1), 1334(b).


                                                        FACTS
    4. On     or     about        June     2010, Leeman contacted                      Cain about suing
        Randy Hart, of North Andover, Essex County, Massachusetts, to
        collect        on     a    defaulted           promissory          note       with      a   principal
        balance in the amount of $12,639.00. Cain was, at the time,
        an attorney licensed to practice law in the Commonwealth of
        Massachusetts.1

1
    According to the BBO, Cain’s current status as an attorney is “Suspension for Definite Term.”
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5. On   or   about     July    14,     2010,      Cain filed a Complaint at the
  Lawrence District Court, John Leeman et. al. vs. Randy Hart
  (Case #1018CV001356), and Notice of Appearance on behalf of
  Leeman.
6. On January 10, 2013, at a scheduled bench trial, the Lawrence
  District       Court      entered       a      judgment       for Randy Hart, the
  Defendant       in     that action,            after   Cain    failed      to    appear.
  That judgment was subsequently vacated, on Cain Motion, and a
  new bench trial scheduled for April 12, 2013.
7. At the bench trial, on April 12, 2013, the Lawrence District
  Court      dismissed        the    Complaint,          with    prejudice,        because
  “Plaintiff failed to appear.”
8. During the course of Cain’s legal representation of Leeman,
  stated to Plaintiff Leeman that judgment had been entered in
  his    favor,      that     monies      were    paid    by    Randy     Hart    to   Cain
  following a supplementary process hearing, and that Cain held
  the funds in a client escrow account.
9. On or about September 9, 2019, Leeman sued Cain in Lawrence
  District Court for legal malpractice and fraud.                           On July 17,
  2015, the parties executed an Agreement for Judgment in favor
  of Leeman and against Cain.                    The District Court entered the
  judgment and issued an Execution thereon.
                                CAUSE OF ACTION
                         (11 U.S.C Section 523(a)(1))

10. Leeman     refers         to    and    incorporates          herein     the general
  allegations stated in paragraphs 1 through 9 alleged herein
  above, and make them a part hereof as though set forth at
  length.
11. Cain     made      representations             concerning      the      status     and
  disposition of the 2010 Lawrence District Court case.
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12. Cain knew at the time that the representations were false.
13. Cain      made     the    representations       with    the    intention      and
   purpose of deceiving Leeman.
14. Leeman justifiably relied on the representations made by
   Cain.
15. Leeman       has     suffered      economic      damages as the proximate
   result of the representations.


WHEREFORE, Leeman prays that this Honorable Court enter judgment
for Plaintiff in the amount of $12,355.00, with an award of
costs   and    reasonable        attorney’s      fees,     and    for     other   such
relief as this Court deems just.

By his attorney,




/s/Keith A. Mitchell
Keith A. Mitchell (#550612)
P.O. Box 5039
Andover, MA   01810
978-337-0621


Dated: October 22, 2018
